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                 EXHIBIT B-051
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                   IN THE SUPERIORCOURTOF FULTONCOUNTY.

                                  STATE OF GEORGIA

INRE:                                    )
SPECIALPURPOSEGRANDJURY                  )             2022-EX-000024
                                         )
                                         )             Judge Robert C.I. McBumey
                                         )
                                         )

      RUDOLPH WILLIAM LOUIS GIULIANI'S EMERGENCY MOTION TO
           ~ONTINUE HEARING/GRAND JURY APPEARANCE
                   PURSUANT TO O.C.G.A § 24-13-26

      COMES NOW, Rudolph William Louis Giuliani, by and through counsel, William

H. Thomas, Jr. and pursuant to O.C.G.A. § 24-13-26, moves this court for a continuance

of his scheduled Grand Jury Appearance on August 9, 2022. In support of his request for

continuance, Mr. Giuliani shows as follows.

                          Introduction and Statement of Facts

                                             (1)

      In j anuary of 2022, the Fulton County District Attorney requested that the Superior

Court of Fulton. County empanel a Special Purpose Grand Jury for the purpose of

investigating "possible criminal disruptions" with respect to the State of Georgia's

administration of elections in 2020, including the State's Election of the President of the

United States. (See Exhibit A Letter Dated January 20, 2022, from Fulton County District

Attorney Fani Willis to Fulton County Superior Court Chief Judge Christopher S.

Brasher). On January 24, 2022, the court granted that request. See Exhibit B.
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                                            (2)

      On July 5, 2022 the Fulton County District Attorney, pursuant to O.C.G.A. §;24-13.:·

90 et seq, sought to compel the attendance and testimony of Rudolph William Louis

Giuliani before the Special Purpose Grand Jury. See Exhibit C.

                                            (3)

      On July 11, 2022, the New York Supreme Court issued an order to Mr. Giuliani,

directing him to appear on July 13, 2022 before the New York Supreme Court, to address,

or otherwise challenge, the request that he appear before the Special Purpose Grand Jury.

See Exhibit. D.

      Mr. Giuliani received notice/ service on July 12, 2022, while recovering !tom a

medical procedure, and set it aside until the next morning without looking at the date.

When he reviewed it the next morning, he realized that he had missed the court date. Mr.

Giuliani contacted the prosecutor handling the matter and was told he had a co~rt date

in Atlanta on August 9, 2022. See Exhibit E.

                                            (4)
       On or about August 2, 2022, Mr. Giuliani' s New York counsel made the request to

the Fulton County District Attorney's Office that his appearance before the Grand Jury

be continued due to his inability to travel based on his recent medical procedure. See

Exhibits F thru J. A doctor's note accompanied said request. Id. That request was rejected

based on information the District Attorney's Office had obtained that indicated Mr.

Giuliani had traveled since the referenced medical procedure. Id. In fact, Mr. Giuliani had

traveled from New York to New Hampshire by a private car in which he was the passenger



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   Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 4 of 46




subsequent to his procedure. Mr. Giuliani's counsel provided clarification regarding his

ability to travel in the form of a second note from his doctor. That note specified that it

was air travel that he was not cleared for, but the District Attorney remained firm in their

refusal to agree to a continuance. Id.

                                            (5)
       In addition to engaging the District Attorney in conversations regarding a

continuance of the Grand Jury appearance, Mr. Giuliani, through New York counsel

offered to appear before the Grand Jury via Zoom, or some other virtual process. It is

important to note here that Mr. Giuliani is no way seeking to inappropriately delay, or

obstruct these proceedings or avoid giving evidence or testimony that is not subject to

some claim of privilege in this matter. Stated another way, he is and has been wiiling to

cooperate in this matter subject to any ethical obligations that may preclude that

cooperation. As evidence of his willingness to cooperate in this and other related l):latters

Mr. Giuliani points out to the court that he has testified pursuant to a similar request. On

May 20, 2022, Mr. Giuliani appearedvirtually before the January 6th Congressional

Committee, which is investigating related matters, and gave over 9 hours of testimony.

See (https:/ /www.cnn.com/2022/05/20/politics/rudy-giuliani-january-6-

committee/index.html)(lastvisited    on August 5, 2022). Mr. Giuliani is willing to do the

same here under conditionsthat replicatea grandjury proceeding.1




1 Althoughno details of suchtestimonywere discussed,Mr. Giulianiwould be willingto do so, in

a room, alone, but with ability to leave the room and consult with counsel as need be ---- the
exact same conditions that would be present during a Grand Jury proceeding.

                                              3
   Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 5 of 46




                                     Legal Argument
                                             (6)
       O.C.G.A. § 24-13-26(b) authorizes this court to grant a continuance of the

proceedings. It states in part, that" [t]he court may also in appropriate proceedings grant

continuance of the proceeding." Here, Mr. Giuliani requests a continuance of the

proceeding until such time that he is medically cleared to fly to Atlanta and give

testimony. Mr. Giuliani has made every effort to reasonably accommodate the District

Attorney's investigation but this has been to no avail. He has provided evidence of his

medical condition which precludes him from traveling by air. He has requested that they

agree to a continuance of this matter, or proceed virtually, or that he participate in an

interview. All of these options have been rejected. Accordingly, this court should exercise

its authority and grant Mr. Giuliani a continuance of his appearance before the Special

Purpose .Grand Jury.

                                         Conclusion
                                             (7)
       WHEREFORE,Mr. Giuliani prays that, this Court (1) stays his appearance 'before

the Special Purpose Grand Jury on August 9, 2022; (2) hold a hearing on his motion to

continue his appearance before the Special Purpose Grand Jury; and (3) grant a

continuance of his appearance before the Special Purpose Grand Jury until such time that

he is medically cleared to fly to Atlanta.

[Signature Page to Follow]




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   Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 6 of 46




Dated: August 6, 2022.

                                       Respectfully submitted,



                                                   rchomtffdr.
                                                CJJe.
                                       CW2t'llicrm
                                       William H. Thomas, Jr.
                                       Georgia Bar No. 706610
                                       THE W.H. THOMAS FIRM, LLC
                                       511 E. Paces Ferry Road
                                       Atlanta, GA 30305
                                       404-897-3523 (ofc)
                                       678-965-1781 (fax)




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                     IN THE SUPERIORCOURTOF FULTONCOUNTY

                                      STATEOF GEORGIA

INRE:                                         )
SPECIALPURPOSEGRANDJURY                       )               2022-EX-000024
                                              )
                                              )               Judge Robert C.I. McBurney
                                              )
                                              )

                                 CERTIFICATEOF SERVICE

This is to certify that I have this day served a copy of the following pleading:

       RUDOLPH WILLIAM LOUIS GIULIANl'S EMERGENCY MOTION TO
             CONTINUE HEARING/GRAND JURY APPEARANCE
                    PURSUANT TO O.C.G.A § 24-13-26

by statutory electronic service, on August 6, 2022, upon:

                               Fani. WillisDA@fultoncountyga.gov
                                   Fani Willis, District Attorney
                             Fulton County District Attorney's Office
                                         141 Pryor St. SW
                                        Atlanta, GA 30303

                                Will. Wooten@fultoncountyga.gov
                                          Will Wooten
                             Fulton County District Attorney's Office
                                        141 Pryor St. SW
                                       Atlanta, GA 30303


                                                              Respectfully submitted,

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                                                              CJX?il!iaJn
                                                              William H. Thomas Jr.
                                                              Ga. Bar No. 706610
 The W.H. Thomas Firm LLC
 511 E. Paces Ferry Road
 Atlanta, GA 30305
 404-897-3523( ofc)
 678-965-1781(fax)




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                     ExhibitA
                                             Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 9 of 46




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Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 11 of 46




                      ExhibitB
                                    Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 12 of 46

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                      ExhibitD


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                      ExhibitE
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           TO: • RudolphWilliamLouisGiuliani
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           WHEREAS,there has been presented.to me as a Justice of the Supreme Co~ Put
    52, State of New Yo.i:k,a Certificate to Secure the Attendance of Out-of-Smte Wi.tnessee:iigned

    bythe HonorableChristopherS.Brasher,ChiefJudgeof the Superior Coott of FultonCounty;
    Adanta Judicial Citcllit, State of Georgia, ·that a.Special Purpose Grand Jury bas been· drawn .

    and impaneled in said county, that Rudolph WilliamLocis Giuliani ls a necessary and material

    witness fo~ the State of Georgia in said criminal proceeding. th11tthe presence of Rudolph

    William Louis Giuliani.will be te.quited to be in attendan1:~a1'\d testify befo.s:ethe Special            .,

    Puxpose Gtand Jury commencing on .full' 12, 2022 and continuing through and until ~e

    conclusion or the W.itness•s testimony on or before August 31, 2022 and requesting. that

    Rudolph William Lows Giuliani be ordered to appea.i:and testify as a necessary and material

     witness p1.u:suantto the attached Cet:tificatefrom the Honorable ChrlstopherS. Brasher, Chief

     Judge of the Superior Court of Fulton County, Atlanta Judicial Circuit, St.a.teof Geotgit, 4
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 25 of 46




              IT IS HEREBYORDEnED,thnt.R1.1dc,lph        Louis Giuliani,havh1gbeen
                                                \X'illi1m1

   p1:opedyse1ved with nn Oi:de1•.
                               to ShO\vC11useand h~vlngfaik1dto appC'.ar.before.me ac 10:00

   a.m. 011 the 131" day of July, 2022 nt P~rt 63, 111Centre Stteet to show cause whv ~\

   summonsshouldnot be isst1ecl                        is herebyissuedby thisCourt;
                             ns dt!scrjbed,a FinalOrclc1·

              THIS COURT i:el)1ing on the .ce.cip.cocity
                                                     bctwet:ntht~State of Georgii11tnc.l
                                                                                      the Stnte.

   of New Yorkpursunntto theii·mt1tun\1Hk1ptiooof the Unifoi:mAct to Secure 1\ttenclance ~1f

   Witncs:; W"ithout the Stnt:c in Criminal Cnses, nnd being sntisfied that the requested testiinouy

   of is matetilll 1tnd necessru:y to the ccillli1111l
                                                    1>J:occe<ling
                                                                and in the public interestj

              IT IS HE~BY      ORDERED that Rudolph William Louis GiuliHni appeanmd te_stlfy

   befow.: the Special Purpose G.ra:ndJui:>•i11the Superiol' Comt of the State of (3c01:gia
                                                                                          for the

    Coumy of FLtlton, on August 9, 2.022, and on ~mys1.ic.hothei: d•~tes Ill\ ·the coui:t tli~i:e may

    otdci:,

               ENTERED as.an order011 this ·13th<fayofJul)' 2022.




                                                       JUSTICE OF THE SUPREME-COURT

                                                            HON
                                                              ..THOMAS
                                                                    FARBER




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Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 26 of 46




                      ExhibitF
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 27 of 46




BillThomas

From:                              Costello,
                                          RobertJ.<rjc@dhclegal.com>
Sent:                              Thursday, August 4, 2022 12:48 PM
To:                                Bill Thomas
Subject:                           Fwd: Rudolph Giuliani




Sent from my iPhone

Begin forwarded message:

        From:"Costello, RobertJ."<rjc@dhclegal.com>
        Date: August 2, 2022 at 12:28:12 PM EDT
        To: Will Wooten <will.wooten@fultoncountyga.gov>
        Subject:RudolphGiuliani


        Dear Mr. Wooten
            Further to our telephone call of yesterday., I have now obtained a letter from Dr. Eric Neibart of Mt.
        Sinai Heart that Mr. Giuliani is not yet cleared to travel. Mayor Giuliani has a scheduled follow up visit
        with Dr. Neibart in two weeks time.
            In light of this, we ask you to provide this letter to Eric Wade, the Special Prosecutor and convey to
        him our request to adjourn sine die, the August 9 appearance In Atlanta. If you believe it is necessary to
        obtain the consent of Justice Thomas Farber of the Supreme Court, New York County, we will take care
        of that, once we have your consent to the adjournment.We will revisit Mr. Giuliani's availability after his
        scheduled follow up visit.
             Thank you for your consideration.
                               Very truly yours,
                                Robert J. Costello
                                Counsel for




                                                             1
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 28 of 46



                                RudolphW. Giuliani




           Eric Neib;;irl, MD




        Sent from my iPhone



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without first speaking with our office. Further,do not accept emailed
wiring instructions from anyone else without voice verification from a known
employee of our office. Even if an email looks like it has come from this
office or someone involved in your transaction. Pleasecall us first at a number
you know to be correct for this office to verify the information before wiring
any money. Be particularly wary of any request to change wiring instructions
you already received.
***********************************************************************
                                                               2
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 29 of 46




                     ExhibitG
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 30 of 46


                                                                                                               •\




Bill Thomas

From:                                Costello,
                                            RobertJ. <'.rjc@dhclegal.com>
Sent:                                Thursday, August 4, 2022 12:49 PM
To:                                  Bill Thomas
Subject:                             Fwd: Nathan Wade




Sent from my iPhone

Begin forwarded message:

        From:"Costello, Robert J."<rjc@dhclegal.com>
        Date: August 2, 2022 at 1:59:47 PM EDT
        To: Will Wooten <will.wooten@fultoncountyga.gov>
        Subject: Nathan Wade

           Please remind Mr. Wade that I am waiting on his letter concerning Rudy Giuliani's request. Please
        ask him to specify the "travel" of Mr. Giuliani he discussed when he denied our request for an
        adjournment based upon the Doctor's note we provided.
                    Bob Costello



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office or someone involved in your transaction. Please call us first at a number
you know to be correct for this office to verify the information before wiring
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LLPat (800) 793-2843, ext. 3284, and destroy all copies of this
message and any attachments.

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to be used, and it cannot be used, by any recipient for the purpose of
(i) avoiding penalties that may be imposed on the recipient under
                                                                 1
          Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 31 of 46



UnitedStatesfederaltax laws,or (ii) promoting,marketingor
recommendingto another party any tax-related matters addressedherein.
***********************************************************************




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Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 32 of 46




                      ExhibitH                                       ..
                                                                    ..
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 33 of 46




BillThomas

From:                            Costello,RobertJ. <rjc@dhclegal.com>
Sent:                            Thursday,August4, 2022 12:49PM
To:                              Bill Thomas
Subject:                         Fwd:NathanWade




Sent from my iPhone

Begin forwarded message:

        From: "Costello, Robert J. 11 <rjc@dhclegal.com>
        Date: August 2, 2022 at 2:20:51 PM EDT
        To: "Wooten, Will" <Will. Wooten@fultoncountyga.gov>
        Subject: Re: Nathan Wade

            Despite my request for specifics of your objection you continue to use nebulous terms. The
        trip to Atlanta requires air transportation and I am certain you do not have any contrary
        information about that. If you are unclear that we are talking about air transportation I will ask
        the doctor to make that clear to you.

        Sent from my iPhone



               On Aug 2, 2022, at 2:10 PM, Wooten, Will <Will.Wooten@fultoncountyga.gov>
               wrote:


               CAUTION:EXTERNALMAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTSYOU DO
               NOT TRUST

               Mr. Costello,

               I am following up on behalf of Mr. Wade, This is to memorialize our position that based
               on the information provided by you and information obtained through collateral
               sources, we do not consent to modify the order commanding Mr. Giuliani to appear in
               Fulton County on August 9, 2022, at 9:00 a.m. We have received information that your
               client has traveled out of state since his surgery, which is inconsistent with your
               position.

                Best regards,

                Will Wooten (He/Him)
                Deputy District Attorney
                White Collar Crime Unit
                DA's LGBTQ+Advisory Committee Co-Chair

                                                          1
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 34 of 46



   FultonCountyDistrictAttorney'sOffice
   136 Pryor Street SW
   Atlanta,GA30303
   (404)612-6560

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   information intended only for the individual or entity named within the message. If the
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   it to the intended recipient, the recipient is hereby notified that any review,
   dissemination, distribution or copying of this communication is prohibited. If this
   communication was received in error, please notify the sender by reply e--mail and
   delete the original message.

   From:Costello, RobertJ. [mailto:rjc@dhclegal.com]
   Sent: Tuesday, August 2, 2022 1:59 PM
   To: Wooten, Will <Will.Wooten@fultoncountyga.gov>
   Subject: Nathan Wade


      Please remind Mr. Wade that I am waiting on his letter concerning
   Rudy Giuliani's request. Please ask him to specify the "travel" of Mr.
   Giuliani he discussed when he denied our request for an adjournment
   based upon the Doctor's note we provided.
                 Bob Costello


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    money to any bank account that our office provides to you via email
    without first
    speaking with our office. Further, DO NOT accept emailed wire
    instructions from anyone else without voice verification from a known
    employee of our office.
    Even if an email looks like it has come from this office or someone
    involved in your transaction,
    CALL US FIRST AT A NUMBER YOU KNOW TO BE CORRECT FOR
    THIS OFFICE to verify the information before wiring any money.
    Be particularly wary of any request to change wire instructions you already
    received.

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   If you are not the intended recipient, please notify us immediately
   by email reply to sender or by telephone to Davidoff Hutcher & Citron
   LLP at (800) 793-2843, ext. 3284, and destroy all copies of this
   message and any attachments.

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   In accordance with Internal Revenue Service Circular 230, we inform
   you that any discussion of a federal tax issue contained in this
                                                2
            Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 35 of 46



                 communication(includingany attachments)is not intendedor written
                 to be used,and it cannot be used, by any recipientfor the purposeof
                 (i) avoidingpenaltiesthatmaybe imposedon the recipientunder
                 UnitedStatesfederaltaxlaws,or (ii) promoting,
                                                            marketing or
                 recommendingto anotherparty any tax-relatedmatters addressedherein.
                 ***********************************************************************



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any money. Be particularly wary of any request to change wiring instructions
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(i) avoiding penalties that may be imposed on the recipient under
United States federal tax laws, or (ii) promoting, marketing or
recommending to another party any tax-related matters addressed herein.
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Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 36 of 46
                r"'\




                       ExhibitI
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 37 of 46




BillThomas

From:                                     RobertJ.<rjc@dhclegal.com>
                                  Costello,
Sent:                             Thursday,August4, 2022 12:48PM
To:                               BillThomas
Subject:                           Fwd: Nathan Wade




Sent from my iPhone

Begin forwarded message:

        From: "Wooten, Will" <Will.Wooten@fultoncountyga.gov>
        Date: August 2, 2022 at 2: 10:32 PM EDT
        To: "Costello,Robert J.11 <rjc@dhclegal.com>
        Subject: RE: Nathan Wade                 ,


        CAUTION:EXTERNALMAIL. DO NOT CLICKON LINKSOR OPENATTACHMENTSYOU DO NOT TRUST

        Mr. Costello,

        I am following up on behalf of Mr. Wade. This is to memorialize our position that based on the
        information provided by you and information obtained through collateral sources, we do not consent to
        modify the order commanding Mr. Giuliani to appear in Fulton County on August 9, 2022, at 9:00 a.m.
        We have received information that your client has traveled out of state since his surgery, which is
        inconsistent with your position.

        Best regards,

        Will Wooten (He/Him)
        Deputy District Attorney
        White Collar Crime Unit
        DA's LGBTQ+Advisory Committee Co-Chair
        Fulton County District Attorney's Office
        136 Pryor Street SW
        Atlanta, GA 30303
        (404) 612-6560

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        delete the original message.
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 38 of 46



       From:Costello,RobertJ. [mailto:rjc@dhclegal.com]
       Sent:Tuesday,August2, 20221:59PM
       To:Wooten,Will <Will.Wooten@fultoncountyga.gov>
       Subject:
             NathanWade

           Please remind Mr. Wade that I am waiting on his letter concerning Rudy Giuliani'.s
        request. Please ask him to specify the "travel" of Mr. Giuliani he discussed when he
        denied our request for an adjournment based upon the Doctor's note we provided.
                     Bob Costello


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        LLP at (800) 793-2843, ext. 3284, and destroy all copies of this
        message and any attachments.

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        to be used, and it cannot be used, by any recipient for the purpose of
        (i) avoiding penalties that may be imposed on the recipient under
        United States federal tax laws, or (ii) promoting, marketing or
        recommending to another party any tax-related matters addressed herein.
        ***********************************************************************



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you know to be correct for this office to verify the information before wiring
anymoney.Beparticularlywaryof anyrequestto changewiringinstructions
you already received.

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           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 39 of 46



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Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 40 of 46




                      ExhibitJ
           Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 41 of 46




Bill Thomas

From:                                       RobertJ.<rjc@dhclegal.com>
                                    Costello,
Sent:                               Thursday, August 4, 202212:49 PM
To:                                 Bill Thomas
Subject:                            Fwd: Giuliani
Attachments:                        [Untitled].pdf




Sent from my iPhone

Begin forwarded message:

        From:"Costello, RobertJ." <rjc@dhclegal.com>
        Date: August 2, 2022 at 4:05:28 PM EDT
        To: Will Wooten <will.wooten@fultoncountyga.gov>
        Subject:Giuliani


        Mr. Wooten,
           Here is the latest letter from Dr. Neibart which specifies no air travel. I am certain you have no
        contraryevidenceasyou haveoffered none. If you are still uncertainpleasenote Dr. Neibarthasinvited
        your office to reach out with any questions.
           Let me have your earliest response.
                          Robert J. Costello




        Sent from my iPhone



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wire money to any bank account that our office provides to you via email
without first speaking with our office. Further,do not accept emailed
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recommendingto another party any tax-relatedmattersaddressedherein.
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       Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 43 of 46




    Mount                       EricNeihart, MD
     Sinai
    Heart                            1190 5th Avenue
                                    New York, NY 10029
             Tel (212} 241-3459 • Fax(212) 241-4420 • Email Eric.Neibart@mountsinai.org



8/2/2022


To Whom It May Concern,




Mr. Rudolph Giuliani has complex artery diagnosis and is s/p a recent invasive procedure.




He is not yet cleared for air travel. Will reevaluate in 4 weeks.




Feel free to reach out with any questions.




Sin~



Eric Neibart, MD
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 44 of 46




                       ExhibitK
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 45 of 46




                                  THEW.H.THOMASFIRM,LLC
                               511 EAST PACES FERRY ROAD NE
                                   ATLANTA, GEORGIA 30305
                              Tel: (404) 897-3523Fax: (678) 965-1781
                                      www.whthomasfinn.com

William H. ThomasJr.                                                         bill@whthoma~firm.com
Admittedin Georgia
andCalifornia
            (Inactive)
                                           August5, 2022

 Fani.WillisDA@fultoncountyga.gov
 Fani Willis, District Attorney
 Fulton County District Attorney's Office
 141 Pryor St. SW
 Atlanta, GA 30303

Will. Wooten@fultoncountyga.gov
Will Wooten
Deputy District Attorney
Fulton County District Attorney's Office
141 Pryor St. SW
Atlanta, GA 30303

Mr. Nathan Wade-Special Prosecutor
1827 Powers Fen·y Road SE
Building 23
Atlanta, GA 30339

          Re:      In Re Special Purpose Grand Jury/ 2022-EX-000024
                   Grand Jury Appearance of Rudolph William Louis Giuliani

Dear Ms. Wi1lis, Mr. Wooten and Mr. Wade,

        l am writing to discuss Mr. Giuliani's scheduled appearance before the Fulton County
Special Purpose Grand Jury on August 9, 2022. I had hoped to discuss this matter with Mr. Wade,
but I never heard back from him as promised. First and foremost, I would like to confirm Mr.
Giuliani 's status with respect to this investigation. That is whether or not he is a target of you·r
investigation. Secondly, I had hoped we could come to some reasonable accommodation regarding
his appearance---- assuming that he is not a target of your investigation---- given Mr. Giuliani's
medical condition and the fact that he has not been cleared to fly by his doctor. Obviously if Mr.
Giuliani is a target of the investigation, the parties would have to have other discussions regarding
his appearance before the Grand Jury at any time.

       I understand that there have been previous discussions with Mr. Giuliani's New York
counsel about a continuance or an alternative to his appearing, but there was no meeting of the
                  W.H. THOMASFIRM, LLC 1511 East Paces Ferry Road NE
                                    Atlanta, Georgia30305
Case 1:23-cv-03721-SCJ Document 1-61 Filed 08/21/23 Page 46 of 46




mindson a continuanceor a reasonablealternative. I had hoped to inquireof Mr. Wade whether
your office would agree to conducta voluntaryinterviewwith Mr. Giuliani in lieu of his Grand
Jury appearance. I am availableanytimethis week-endto discuss these matters but given that I
have not heard back from your office, I feel the need to seek a continuanceof this matter with
JudgeMcBurney. Shouldwe reachsome accordover the week-endI will informJudge McBurney
that the partieshave resolvedthis matter amongstthemselves. Please feel free to reach out to me
at your convenience. I look forwardto hearingfrom you and hope that we are able to reach a
mutuallyagreeablesolutionto thismatter.

Sincerely,

The W.H. ThomasFirm, LLC

OOhc::!8.~cJr.
WilliamH. Thomas,Jr.




                  W.H. THOMAS FIRM, LLC I 511 East Paces Ferry Road NE
                                Atlanta, Georgia 30305
